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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                                   Hon. Robert Holmes Bell

 v.                                                         Case No. 1:15-cr-00130-RHB-1

 CHRISTOPHER CORTEZ GORDON,

            Defendant.
 _________________________________/

                                               ORDER

       The Court conducted a hearing today on the government’s motion for pretrial detention.

Given that the grand jury found probable cause to charge defendant with offenses under the

Controlled Substances Act, 21 U.S.C. § 801 et seq., for which the maximum term of imprisonment is

ten years or more, there is a statutory rebuttable presumption in favor of detention. See 18 U.S.C.

§ 3142(e)(3)(A). For the reasons stated on the record, I find that defendant has failed to rebut the

presumptions. Moreover, as explained on the record, the government has proven by clear and

convincing evidence that defendant is a danger to the community. There is no condition or

combination of conditions that will ensure defendant’s appearance in court and the safety of the

community. Accordingly,

       IT IS ORDERED that defendant is remanded to the custody of the Attorney General until

further order of this Court.

       IT IS SO ORDERED.

Date: September 23, 2015                              /s/ Phillip J. Green
                                                     PHILLIP J. GREEN
                                                     United States Magistrate Judge
